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AO 467 (Rev. 01/09) Order Requiring a Defendant to Appear in the District Where Charges are Pending and Transferring Bail


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                           NorthernDistrict
                                                       __________   Districtofof__________
                                                                                 Ohio

                   United States of America                                    )
                              v.                                               )       Case No. 1:24mj2123
                                                                               )
                             Kirk Perry                                        )       Charging District:          District of Columbia
                              Defendant                                        )       Charging District’s Case No. 1:24cr223


                      ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
                        WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL

        After a hearing in this court, the defendant is released from custody and ordered to appear in the district court
where the charges are pending to answer those charges. If the time to appear in that court has not yet been set, the
defendant must appear when notified to do so. Otherwise, the time and place to appear in that court are:

Place: TBD                                                                             Courtroom No.:
                                                                                       Date and Time:

        The clerk is ordered to transfer any bail deposited in the registry of this court to the clerk of the court where the
charges are pending.


Date:            05/21/2024                                                                          s/ James E. Grimes Jr.
                                                                                                           Judge’s signature

                                                                                   James E. Grimes Jr., United States Magistrate Judge
                                                                                                        Printed name and title
